                          [S. C., 3 Hay., 70.]
The defendants filed a petition for rehearing of a decree passed November term, 1816. It was filed in the same term. It stated surprise by the production of a judgment, wherein damages were recovered for land, that Robertson was bound to convey to Carter. The decree was founded upon the supposed fact that these were the lands mentioned in the bill. The petition, affidavit, and letters referred to, showed that this was a mistake. These discoveries seem to call for reconsideration. Is a petition for rehearing the proper procedure to arrive at that end? When a decree is pronounced and put upon the minute (book, and signed, and the term is not yet passed, a petition for rehearing is proper; but if the term be passed, then the decree is of record and enrolled, and a reconsideration must be applied for by bill of review. Then, as to the matter of petition, is surprise a good ground for it? If the Court mistake in mutter of law, or in conclusions drawn from facts, or if new evidence be discovered, which the party could not possibly use before, or if he be unexpectedly assailed by testimony which he can satisfactorily answer, but was prevented by the suddenness of the attack; and if the testimony not produced for this cause be very material, and if it be such as was proper for the matters in issue, and there has been no studiousness of delay, nor any culpable unpreparedness, a rehearing in such case ought to be granted.
Let the bill be reheard as to the part complained of.